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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

                                    §
    HOPEWELL CULTURE & DESIGN, LLC, §
                                    §
          Plaintiff,                §
                                    §
    v.                              §
                                    §                   Civil Action No. 2:10-CV-00586-DF-CE
    ADOBE SYSTEMS INCORPORATED,     §
    ET AL.,                         §                   JURY TRIAL DEMANDED
                                    §
                                    §
          Defendants.               §
                                    §

                        ORDER GRANTING MOTION TO DISMISS CASE

           CAME ON THIS DAY for consideration of the Motion to Dismiss Case and the Court
.
    being of the opinion that said motion should be GRANTED because the parties have resolved

    their disputes and all defendants have now been dismissed, it is hereby,

           ORDERED, ADJUDGED AND DECREED that this case is here by dismissed.

           SIGNED this 20th day of January, 2012.




                                                       ____________________________________
                                                       DAVID FOLSOM
                                                       UNITED STATES DISTRICT JUDGE
